                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                             Consolidated Civil Action

RALEIGH WAKE CITIZENS
ASSOCIATION, et al.

                            Plaintiffs,

v.                                                           No. 5:15-cv-156

WAKE COUNTY BOARD
OF ELECTIONS,

                            Defendant.




CALLA WRIGHT, et al.,

                            Plaintiffs,

v.                                                           No. 5:13-cv-607

THE STATE OF NORTH CAROLINA,
et al.,

                             Defendants.



                     DECLARATION OF FREDERICK G. MCBRIDE

NOW COMES Frederick G. McBride who deposes and says:

       1.      I am over 18 years of age, legally competent to give this declaration and

have personal knowledge of the facts set forth herein.




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       2.      From August 1, 2015, until July 31, 2016, I served as Senior Policy Analyst

for the Southern Coalition for Social Justice in Durham, North Carolina. I also served as

the Redistricting Coordinator at the American Civil Liberties Union – Voting Rights

Project for 12 years. I have drawn district maps, evaluated redistricting plans, and

performed voting and demographic analysis for over 100 jurisdictions in 22 states.

       3.      Anita Earls sent me the cover letter attached hereto as Exhibit A on August

3, 2016 along with all of the electronic GIS files accompanying the letter. The letter

indicated that the software program, Maptitude, or some similar program was needed to

open the files.

       4.      I began the standard practice of importing a plan from an equivalency file,

area layer, or existing plan as the letter indicated such files were block assignment files.

This technique involves importing the district plan using the district ID for each map

feature in the base layer.

       5.      My GIS program is Maptitude for Redistricting 2013. In Maptitude, files

must be dBase, comma-delimited text, fixed-format text, or fixed-format binary files. The

files associated with the letter had .gdb, .mxd, and .rdp extensions. These types of files

are associated with ArcGIS, an ESRI product not compatible with their competitor

Maptitude. I was unable to import these files into the Maptitude program to perform any

evaluation of the districts or the purported district statistics.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



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Executed this the 5th day of August, 2016.




                                             Frederick G. Mc ride




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                                                 Exhibit A




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